                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 STEVEN WELCH,                           )
                                         )
                     Plaintiff,          )
       v.                                )            1:18CV333
                                         )
 BLUE CROSS AND BLUE SHIELD OF           )
 NORTH CAROLINA,                         )
                                         )
                     Defendant.          )

                                  MEMORANDUM ORDER

      Plaintiff Steven Welch has sued his employer, Defendant Blue Cross and

Blue Shield of North Carolina (“BCBS”), for sex discrimination in violation of Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. BCBS moved to

dismiss Welch’s initial Complaint [Doc. #14], after which it was amended. BCBS

has now moved to dismiss the Amended Complaint [Doc. #20]. Because Welch

amended his Complaint after BCBS filed its first motion to dismiss, that motion is

denied as moot. For the reasons explained below, BCBS’s motion to dismiss the

Amended Complaint is granted.

      Allegations in the Amended Complaint assert the following. Welch, a male,

works in information technology. He is a certified software tester whose career

spans work performing contract services for the General Services Administration

and United States Office of Management and Budget, where he helped to create

the government’s “’Section 508’” website providing internet accessibility to people

with disabilities, and for the Kennedy Space Center. (Am. Compl. ¶¶ 20, 22-25.)




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He has also worked as a Senior Network Engineer, Senior Program Developer,

Project Manager, and Senior Cold Fusion Developer. (Id. ¶ 21.)

      In February 2013, he began contract work for BCBS in the Web Office, later

renamed Digital Marketing Department. (Id. ¶¶ 26, 28.) In June 2014, he became

a full-time employee in the Digital Marketing Department, was designated as a

Senior Test Specialist, and reported to Amanda McGuire, a female, until December

2015 when Deborah Jenkins, a female, became his supervisor. (Id. ¶¶ 28, 29, 31.)

During the period relevant to the Amended Complaint, not only did Welch’s job

performance meet BCBS’s expectations, but he was always described as a “high

contributor”. (Id. ¶¶ 27, 32.) He received more than thirty-six Proper Recognition

of Personal Success awards from BCBS’s Chief Executive Officer, Vice President of

Digital Transformations, Director of Digital Transformation, Product Manager for

Production Management and Experience, Program Manager for Quality

Management, and his direct supervisors, McGuire and Jenkins. (Id. ¶¶ 33-37.)

      As part of his work at BCBS, Welch helped to set up the Digital Marketing

Department. (Id. ¶ 38.) As Senior Test Specialist, he tested the online tools used

by BCBS customers to research and compare costs and quality of healthcare

services. (Id. ¶ 39.) In addition, having performed a wide range of other job duties

in the Digital Marketing Department, he helped create two of the three new

positions in the department by assisting McGuire with job descriptions, resume

reviews, and interviews for Web Accessibility Advisor and Principal Test Specialist.

(Id. ¶¶ 39, 41, 48, 56, 57.) He wrote the processes and procedures for the Web

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Accessibility Advisor and created detailed process documentation and validation

testing for the Principal Test Specialist. (Id. ¶¶ 52, 58.) Although Welch had been

doing the work of the department’s new Web Accessibility Advisor, Principal Test

Specialist, and Business Application Expert, he did not apply for any of those new,

open positions because he understood they would be at the same pay grade or

salary as his own job. (Id. ¶¶ 40, 42, 57.)

      In January 2015, Sylvia Pellicore, a female, was hired as the Web

Accessibility Advisor. (Id. ¶ 47.) She had no previous experience in healthcare or

at BCBS, so Welch trained her on the processes and applications, as well as key

aspects of the position. (Id. ¶¶ 49, 51.) In June 2015, Brooke Poe, a female, was

hired as the Principal Test Specialist, after which Welch trained her on the core

aspects of her position. (Id. ¶¶ 55, 59.) In September 2015, Kate Clements, a

female, was hired as the Business Application Expert, and Welch trained her on the

member benefit configuration and member website access to the provider directory

and treatment cost application permissions. (Id. ¶¶ 62, 63, 65.)

      Not only had Welch performed the job duties of these positions before

Pellicore, Poe, and Clements were hired, but, after they were hired, he filled in for

them during their absences. (Id. ¶¶ 40, 44-46, 68, 80.) Approximately thirty-five

percent of the time from January 2015 to July 2017, at which time he transferred

to another department, he performed his own job responsibilities and those of

Pellicore, Poe, and Clements. (Id. ¶¶ 68, 69.)




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      Welch’s own job responsibilities not only required at least as much ability,

experience, and skill as those of Pellicore, Poe, and Clements, but they also

included a number of the same duties that were assigned to Pellicore, Poe, and

Clements. (Id. ¶ 72; compare id. ¶¶ 53, 60, 64 with ¶ 74.) Nevertheless, from

the time of their hires in 2015 to his transfer in July 2017, Welch was always paid

less than Pellicore, Poe, and Clements. (Id. ¶¶ 54, 61, 67, 81; compare ¶ 82 with

¶¶ 83-85.)

      Welch’s female management team – McGuire, Jenkins, and Vice President

of Transformations Kelly Wage – were responsible for determining his

compensation and salary classification. (Id. ¶ 77.) He repeatedly requested they

compensate him equivalently to Pellicore, Poe, and Clements and reclassify his

position, but those requests were denied. (Id. ¶¶ 86, 87.) Specifically, in March

2016, he asked Jenkins to reclassify his job, essentially promoting him, to Principal

Test Specialist with a corresponding increase in salary, but she refused. (Id. ¶ 88.)

In May 2017, he once again requested a job reclassification, this time to Business

Application Expert, but that request was also denied. (Id. ¶ 89.) Because Jenkins

refused Welch’s requests, he sought a transfer to a different department. (Id.

¶ 94.) On July 30, 2017, Welch transferred to the System Support Services

Department as a Business Application Expert. (Id. ¶ 95.) Upon Welch’s

information and belief, at least three men left McGuire’s group because the female

management team treated them differently because they were males and because

the female management team ignored their complaints of discrimination. (Id. ¶ 78.)

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Also upon Welch’s information and belief, one of those men, Senior Program

Manager Scott Pale, complained about unfair compensation and failure to promote

because of his gender. (Id. ¶ 79.)

              After receiving his right to sue letter from the Equal Employment Opportunity

Commission, Welch filed suit against BCBS for sex discrimination in violation of

Title VII. (Id. ¶¶ 5, 100-09.) He alleges that despite his excellent performance and

assistance with creating the Digital Marketing Department, he was discriminated

against and denied fair compensation1 because he is male. (Id. ¶ 76; see also id.

¶ 92 (generally alleging gender discrimination), ¶ 93 (“The female management

team favored women over men because of gender when making decisions

regarding compensation, salary classification, and promotion.”), ¶ 96 (“Plaintiff’s

requests for increases in his base salary, reclassification of his job and/or a

promotion were denied because of his gender.”).) BCBS has moved to dismiss this

action and argues that Welch has not alleged any facts in support of his allegations

that the refusals to increase his pay, reclassify his position, or retitle his position




                                                            
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  BCBS understood Welch to be alleging a failure to promote claim, in addition to
his compensation claim. (Def.’s Br. in Supp. at 8-10.) In his response brief,
however, Welch clarified that “he is seeking redress because he was denied fair
compensation on the basis of his gender.” (Pl.’s Resp. in Opp’n to Def.’s Mot. to
Dismiss the Am. Compl. at 13 (“Pl.’s Br. in Opp’n”).) He “was not seeking a
promotion to a different job with a different set of job duties; he was seeking
recognition that his own job was wrongly classified and that he was underpaid”.
(Id.) He describes his claim as a “failure-to-promote him in place, i.e. a failure to
reclassify his position and place him in a higher salary band for the work he was
already performing.” (Id. at 14.)
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“were motivated by or related to his gender”. (Mem. of Law in Supp. of Def.’s

Second Mot. to Dismiss at 7 (“Def.’s Br. in Supp.”).)

      To survive a Rule 12(b)(6) motion, the complaint “must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (citing

Twombly, 550 U.S. at 556); see also McCleary-Evans v. Md. Dep’t of Transp.,

State Highway Admin., 780 F.3d 582, 585 (4th Cir. 2015) (noting that a

complaint must “contain[] sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face in the sense that the complaint’s factual

allegations must allow a court to draw the reasonable inference that the defendant

is liable for the misconduct alleged”). However, when a complaint states facts

that are “’merely consistent with’ a defendant’s liability, it ‘stops short of the line

between possibility and plausibility of ‘entitlement to relief.’’” Iqbal, 556 U.S. at

678 (quoting Twombly, 550 U.S. at 557). When evaluating whether the complaint

states a claim that is plausible on its face, the facts are construed in the light most

favorable to the plaintiff and all reasonable inferences are drawn in his favor. U.S.

ex rel. Oberg v. Pa. Higher Educ. Assistance Agency, 745 F.3d 131, 136 (4th Cir.

2014). Nevertheless, “labels and conclusions[,]” “a formulaic recitation of the

elements of a cause of action[,]” and “naked assertions . . . without some further

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factual enhancement” are insufficient. Twombly, 550 U.S. at 557. In other words,

“[f]actual allegations must be enough to raise a right to relief above the speculative

level”. Id. at 555.

      As is relevant here, Title VII prohibits an employer from discriminating

“against any individual with respect to his compensation . . . because of such

individual’s . . . sex”. 42 U.S.C. § 2000e-2(a)(1). Because a plaintiff can

ultimately prove discrimination in violation of Title VII by direct evidence or by

using the McDonnell Douglas burden-shifting framework, he is not required to

plead a prima facie case of discrimination. Swierkiewicz v. Sorema N.A., 534 U.S.

506, 510-11, 515 (2002). “The prima facie case under McDonnell Douglas . . . is

an evidentiary standard, not a pleading requirement.” Id. at 510. Instead, a

plaintiff alleging discrimination in violation of Title VII must “allege facts to satisfy

the elements of a cause of action created by the statute”. McCleary-Evans, 780

F.3d at 585 (requiring the plaintiff claiming race and sex discrimination in violation

of Title VII to allege “that the Highway Administration ‘fail[ed] or refus[ed] to hire’

her ‘because of [her] race . . . [or] sex’”).

      In McCleary-Evans, the plaintiff sued the Highway Administration for race

and sex discrimination in violation of Title VII when it failed to hire her. Id. at 583.

In her complaint, “she repeatedly alleged that the Highway Administration did not

select her because of the relevant decisionmakers’ bias against African American

women.” Id. at 585. Allegedly, “[d]uring the course of her interview, and based

upon the history of hires within [the Office of Environmental Design], . . . both

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Keenan and Sangahvi predetermined to select for both positions a White male or

female candidate.” Id. at 585-86 (alterations in original). However, the Fourth

Circuit Court of Appeals found that “[w]hile the allegation that non-Black

decisionmakers hired non-Black applicants instead of the plaintiff is consistent with

discrimination, it does not alone support a reasonable inference that the

decisionmakers were motivated by bias.” Id. at 586. The plaintiff alleged no facts

about what occurred during her interview. Id. “Only speculation [could] fill the

gaps in her complaint – speculation as to why two ‘non-Black candidates’ were

selected to fill the positions instead of her.” Id.

      BCBS contends that, like the complaint in McCleary-Evans, Welch’s

Amended Complaint falls short. (Pl.’s Br. in Supp. at 8.) Welch responds that his

compensation claim distinguishes this case from McCleary-Evans, a failure to hire

case, and Coleman v. Maryland Court of Appeals, 626 F.3d 187 (4th Cir. 2010), a

retaliation and termination case. (Pl.’s Resp. in Opp’n at 9-12.) Welch argues that

he has sufficiently pled a prima facie case of discriminatory compensation – that

he is a male and that his job is similar to higher paying jobs held by females. (Id. at

5 (citing Brinkley-Obu v. Hughes Training, Inc., 36 F.3d 336, 343 (4th Cir. 1994)

(reviewing a jury verdict and comparing the burden-shifting of compensation claims

under the Equal Pay Act and Title VII)).)

      Crucial, though, to the holdings in McCleary-Evans which established the

pleading requirements of a Title VII claim and Brinkley-Obu which evaluated the

sufficiency of the evidence supporting a Title VII compensation claim is that there

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must be “a connection between sex and the adverse employment decision”,

Brinkley-Obu, 36 F.3d at 343. As the court in McCleary-Evans held, a plaintiff is

“required to allege facts to satisfy the elements of a cause of action created by

that statute”. 780 F.3d at 585. Here, Welch must sufficiently allege facts to make

it plausible that BCBS discriminated against him with respect to his compensation

because of his sex. See 42 U.S.C. § 2000e-2(a); McCleary-Evans, 780 F.3d at

585.

        Welch has failed to do so. There are no factual allegations to support his

claim that his job classification or pay was discriminatory. His allegations that

other men transferred from McGuire’s group because they felt they were being

treated differently based on their gender and their complaints of discrimination

were being ignored are too vague to characterize Welch’s claim as plausible. He

admittedly never applied for the three new positions when they were open, despite

knowing that he had performed the work of those jobs prior to the hiring of

Pellicore, Poe, and Clements. While he alleges that he did not apply because he

understood those positions would be at his same pay grade and salary, there are

no allegations of the basis of his understanding or that Welch was misled to keep

him from applying for jobs that were in fact higher paying. Although he alleges

that the female management team refused his repeated requests to be

compensated like Pellicore, Poe, and Clements and to upgrade his position and

salary classification, there are no allegations that suggest those refusals were

because Welch is a male.

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       In sum, Welch has alleged that he was an experienced and knowledgeable

Senior Test Specialist in the Digital Marketing Department whose superiors,

including his female management team – McGuire, Jenkins, and Wage, recognized

him often for his professional contributions. He assisted McGuire in creating the

department and its new positions of Web Accessibility Advisor, Principal Test

Specialist, and Business Applications Expert and interviewed applicants. He did

not apply for any of those positions, though, and remained the department’s Senior

Test Specialist who trained Pellicore, Poe, and Clements and filled in for them in

their absence. Pellicore, Poe, and Clements were always paid more than Welch,

and his managers refused his requests for a pay raise or job reclassification despite

the fact that he was doing Pellicore’s, Poe’s, and Clements’ jobs along with his

own approximately thirty-five percent of the time. He did eventually transition to

the position of Business Applications Expert in the Systems Support Services

Department. McGuire, Jenkins, Wage, Pellicore, Poe, and Clements are all

females. Welch is a male.

       His allegations that he was discriminated against by his female management

team because of his sex are simply too conclusory. It would be difficult even to

describe Welch’s allegations as consistent with discrimination. There is simply no

connection between his sex and his pay or job classification. Therefore, he has

not sufficiently alleged facts to state a plausible claim of sex discrimination in

violation of Title VII.




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      For the reasons stated in this Memorandum Order, IT IS HEREBY ORDERED

that Defendant Blue Cross and Blue Shield of North Carolina’s Motion to Dismiss

[Doc. #20] be GRANTED. IT IS FURTHER ORDERED that Defendant Blue Cross

and Blue Shield of North Carolina’s Motion to Dismiss the initial Complaint [Doc.

#14] be DENIED AS MOOT because that Complaint has since been amended. A

judgment dismissing this action will be entered contemporaneously with this

Memorandum Order.

      This the 14th day of March, 2019.


                                            /s/ N. Carlton Tilley, Jr.
                                       Senior United States District Judge




 




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